 Case 1:17-cv-02604-RLY-DML Document 1 Filed 08/02/17 Page 1 of 7 PageID #: 1



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

Benjamin Riley, individually and on          )
behalf of all others similarly situated,     )
                                             )
        Plaintiff,                           )
                                             )
        v.                                   )       No.   1:17-cv-2604
                                             )
Client Services, Inc., a Missouri            )
corporation,                                 )
                                             )
        Defendant.                           )       Jury Demanded

                               COMPLAINT -- CLASS ACTION

        Plaintiff, Benjamin Riley, individually and on behalf of all others similarly situated,

brings this action under the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.

("FDCPA"), for a finding that Defendant’s collection actions violated the FDCPA, and to

recover damages, and alleges:

                                JURISDICTION AND VENUE

        1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

        2.      Venue is proper in this District because: a) the acts and transactions

occurred here; b) Plaintiff resides here; and, c) Defendant transacts business here.

                                           PARTIES

        3.      Plaintiff, Benjamin Riley ("Riley"), is a citizen of the State of Indiana,

residing in the Southern District of Indiana, from whom Defendant attempted to collect a

delinquent consumer debt, which he allegedly owed to Capital One Bank.

        4.      Defendant, Client Services, Inc. (“Client Services”), is a Missouri
Case 1:17-cv-02604-RLY-DML Document 1 Filed 08/02/17 Page 2 of 7 PageID #: 2



corporation that acts as a debt collector, as defined by § 1692a of the FDCPA, because

it regularly uses the mails and/or the telephone to collect, or attempt to collect,

delinquent consumer debts, including delinquent consumer debts in the Southern

District of Indiana. In fact, Client Services was acting as a debt collector as to the

delinquent consumer debt it attempted to collect from Plaintiff.

       5.      Defendant Client Services is authorized to conduct business in Indiana,

and maintains a registered agent here, see, record from the Indiana Secretary of State,

attached as Exhibit A. In fact, Defendant conducts business in Indiana.

       6.      Defendant Client Services is licensed as a debt collection agency in the

State of Indiana, see, record from the Indiana Secretary of State, Securities Division,

attached as Exhibit B. In fact, Defendant acts as a debt collection agency in Indiana.

                                    FACTUAL ALLEGATIONS

       7.      Client Services sent Mr. Riley an initial form collection letter, dated May

22, 2017, demanding payment of a debt he allegedly owed to Capital One Bank. This

letter stated, in pertinent part:

                                            * * *

       Please note, we have many payment options that may meet your
       individual needs. If we are unable to arrange repayment, Capital One will
       send your account to an attorney in your state for possible legal action.
       Please note, no decision has been made to take legal action against you
       at this time. If a lawsuit is filed, you’ll have the opportunity at any court
       hearing to raise applicable defenses or property exemptions. I want to
       help you avoid any possible legal action. Please call me at 877-665-3303
       for more information. I look forward to working with you to resolve this
       balance.
                                              * * *

A copy of this letter is attached as Exhibit C.




                                              2
Case 1:17-cv-02604-RLY-DML Document 1 Filed 08/02/17 Page 3 of 7 PageID #: 3



       8.     In fact, defenses have to be raised in the answer to any complaint, not at

“any court hearing” and property exemptions are only raised after judgment, not at “any

court hearing”.

       9.     Violations of the FDCPA which would lead a consumer to alter his or her

course of action as to whether to pay a debt, or which would be a factor in the

consumer's decision making process, are material, see, Lox v. CDA, 689 F.3d 818, at

827. Here, Defendant’s statement concerning a potential lawsuit would cause an

unsophisticated consumer to be confused as to their legal rights if they were sued, and

this would directly impact any decision whether to pay the debt to avoid being sued

and/or what they should do if they are sued.

       10.    Defendant’s collection actions complained of herein occurred within

one year of the date of this Complaint.

       11.    Defendant’s collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).

                                       COUNT I
                                 Violation Of § 1692e
                               Making False Statements

       12.    Plaintiff adopts and realleges ¶¶ 1-11.

       13.    Section 1692e of the FDCPA prohibits a debt collector from using any

false, deceptive or misleading representation or means in connection with the collection

of a debt, see 15 U.S.C. § 1692e. More specifically, § 1692e(2)(a) of the FDCPA

prohibits debt collectors from the false representation of “the character, amount or legal

status of any debt”, see 15 U.S.C. § 1692e(5).



                                            3
Case 1:17-cv-02604-RLY-DML Document 1 Filed 08/02/17 Page 4 of 7 PageID #: 4



         14.   Defendant’s statement that “[I]f a lawsuit is filed, you’ll have the

opportunity at any court hearing to raise applicable defenses or property exemptions”,

was untruthful and deceptive. Specifically, defenses have to be raised in an answer not

in “any court hearing” and property exemptions are only raised after judgment, not at

“any court hearing”. By making false and deceptive statements in connection with the

collection of a debt, Defendant violated § 1692e of the FDCPA.

         15.   Defendant’s violations of § 1692e of the FDCPA render it liable for

statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                       COUNT II
                         Violation Of § 1692f Of The FDCPA --
                     Unfair Or Unconscionable Collection Actions

         16.   Plaintiff adopts and realleges ¶¶ 1-11.

         17.   Section 1692f of the FDCPA prohibits a debt collector from using any

unfair or unconscionable means to collect or attempt to collect a debt, see, 15 U.S.C. §

1692f.

         18.   Defendant’s statements that “[I]f a lawsuit is filed, you’ll have the

opportunity at any court hearing to raise applicable defenses or property exemptions”,

was unfair and unconscionable. Specifically, defenses have to be raised in his answer

not in “any court hearing” and property exemptions are only raised after judgment, not at

“any court hearing”. By using unfair and unconscionable means to collect a debt,

Defendant violated of § 1692f of the FDCPA.

         19.   Defendant’s violations of § 1692f of the FDCPA render it liable for

statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.




                                               4
Case 1:17-cv-02604-RLY-DML Document 1 Filed 08/02/17 Page 5 of 7 PageID #: 5



                                   CLASS ALLEGATIONS

       20.    Plaintiff, Benjamin Riley, brings this action individually and as a class

action on behalf of all persons similarly situated in the State of Indiana from whom

Defendant attempted to collect a delinquent consumer debt allegedly owed to Capital

One Bank, via the same form collection letter (Exhibit C), that Defendant sent to

Plaintiff, from one year before the date of this Complaint to the present. This action

seeks a finding that Defendant’s form letter violates the FDCPA, and asks that the Court

award damages as authorized by § 1692k(a)(2) of the FDCPA.

       21.    Defendant regularly engages in debt collection, using the same form

collection letter they sent Plaintiff Riley, in its attempts to collect delinquent consumer

debts from other persons.

       22.    The Class consists of more than 40 persons from whom Defendant

attempted to collect delinquent consumer debts, by sending other consumers the same

form collection letter they sent Plaintiff Riley.

       23.    Plaintiff Riley’s claims are typical of the claims of the Class. Common

questions of law or fact raised by this class action complaint affect all members of the

Class and predominate over any individual issues. Common relief is therefore sought

on behalf of all members of the Class. This class action is superior to other available

methods for the fair and efficient adjudication of this controversy.

       24.    The prosecution of separate actions by individual members of the Class

would create a risk of inconsistent or varying adjudications with respect to the individual

members of the Class, and a risk that any adjudications with respect to individual

members of the Class would, as a practical matter, either be dispositive of the interests



                                                5
Case 1:17-cv-02604-RLY-DML Document 1 Filed 08/02/17 Page 6 of 7 PageID #: 6



of other members of the Class not party to the adjudication, or substantially impair or

impede their ability to protect their interests. Defendant has acted in a manner

applicable to the Class as a whole such that declaratory relief is warranted.

       25.    Plaintiff Riley will fairly and adequately protect and represent the interests

of the Class. The management of the class action proposed is not extraordinarily

difficult, and the factual and legal issues raised by this class action complaint will not

require extended contact with the members of the Class, because Defendant’s conduct

was perpetrated on all members of the Class and will be established by common proof.

Moreover, Plaintiff Riley has retained counsel experienced in class action litigation,

including class actions brought under the FDCPA.

                                  PRAYER FOR RELIEF

       Plaintiff, Benjamin Riley, individually and on behalf of all others similarly situated,

prays that this Court:

       1.     Certify this action as a class action;

       2.     Appoint Plaintiff Riley as Class Representative of the Class, and his

attorneys as Class Counsel;

       3.     Find that Defendant’s form collection letter violated the FDCPA;

       4.     Enter judgment in favor of Plaintiff Riley and the Class, and against

Defendant, for statutory damages, costs, and reasonable attorneys’ fees as provided by

§ 1692k(a) of the FDCPA; and,

       5.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Benjamin Riley, individually and on behalf of all others similarly situated,



                                              6
Case 1:17-cv-02604-RLY-DML Document 1 Filed 08/02/17 Page 7 of 7 PageID #: 7



demands trial by jury.

                                                     Benjamin Riley, individually and on
                                                     behalf of all others similarly situated,

                                                     By:/s/ David J. Philipps___________
                                                     One of Plaintiff's Attorneys


Dated: August 2, 2017

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                                                 7
